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                                                                              CLOSED




____________________________________
ANKIT PATEL,                        :         UNITED STATES DISTRICT COURT
                                     :           DISTRICT OF NEW JERSEY
            Plaintiff(s),            :
                                     :            Hon. Dennis M. Cavanaugh, U.S.D.J.
             -vs-                    :           Civil Action No. 10cv2350 (DMC)(JAD)
                                     :
PENTAGROUP FINANCIAL, LLC,           :                   DISMISSAL ORDER
                                     :
            Defendant(s),            :
____________________________________:



        IT HAVING BEEN REPORTED to the Court that the above-captioned matter has been
settled;

       IT IS on this 8th day of February, 2011

        ORDERED THAT this matter be and hereby is dismissed without costs and without
prejudice to the right, upon good cause shown within 60 days, to seek to reopen the action if
the settlement is not consummated.



                                                  S/ Dennis M. Cavanaugh
                                                  DENNIS M. CAVANAUGH
                                                  United States District Judge

cc:    All Parties
       Hon. Joseph A. Dickson, U.S.M.J.
       File
